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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *

UNITED STATES OF AMERICA                         *

        v.                                       *                  CRIM. NO. JKB-16-0324

ATIF BABAR MALIK,                                *

        Defendant.                               *

        *        *     *      *       *      *       *      *       *       *      *       *

                                  MEMORANDUM ORDER

        The Defendant Atif Babar Malik was sentenced to a period of 96 months’ imprisonment

after being found guilty of several counts related to healthcare fraud and tax evasion. (ECF No.

423.)   Malik is currently incarcerated at FCI Loretto.         He has now filed a Motion for

Compassionate Release (ECF No. 505) in light of the COVID-19 Pandemic Crisis. See In re:

Court Operations Under the Exigent Circumstances Created by COVID-19, Case 1:00-mc-00308,

Standing Order 2020-05 (D. Md. Mar. 20, 2020.)           He also filed a Motion to Strike the

Government’s Response in Opposition (ECF No. 513). No hearing is necessary. See Local Rules

105.6, 207 (D. Md. 2018). For the reasons set forth below, the Motion for Compassionate Release

and the Motion to Strike will be DENIED.

        Pursuant to 18 U.S.C. § 3582(c)(1)(A), a district court may modify a convicted defendant’s

sentence when “extraordinary and compelling reasons warrant such a reduction.” A defendant

may only move for compassionate release under § 3582(c)(1)(A) after he or she “has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf or [after] the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.” Malik filed a request with the warden of



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his institution for compassionate release, which was denied on April 23, 2020. (See ECF No. 505-

1 at 20). The Government does not dispute that Malik has satisfied the procedural requirements

of § 3582(c)(1)(A). (ECF No. 511 at 36.) Therefore, the question facing the Court is whether

Malik has provided evidence establishing the existence of “extraordinary and compelling” reasons

for his release.

        Under 28 U.S.C. § 994(t), the United States Sentencing Commission “shall describe what

should be considered extraordinary and compelling reasons for sentence reduction, including the

criteria to be applied and a list of specific examples.”        The Commission has stated that

“extraordinary and compelling reasons” exist where: (1) a defendant has a terminal or serious

medical condition; (2) a defendant with deteriorating health is at least 65 years old and has served

ten years or 75% of his term of imprisonment; (3) certain family circumstances arise in which a

defendant must serve as a caregiver for minor children or a partner; or (4) the Bureau of Prisons

(“BOP”) determines other circumstances create “extraordinary and compelling reasons” for

sentence reduction. See U.S.S.G. § 1B1.13 cmt. n.1(A)–(D).

        This mandate and policy statement, however, predate the passage of the First Step Act of

2018, Pub. L. No. 115-391, 132 Stat. 5194 (2018), “which was enacted to further increase the use

of compassionate release and which explicitly allows courts to grant such motions even when

B[O]P finds they are not appropriate.” United States v. Beck, 425 F. Supp. 3d 573, 579 (M.D.N.C.

2019). This Court and many others have determined that under the First Step Act, “BOP is no

longer the exclusive arbiter of what constitutes other ‘extraordinary and compelling reasons,’” and

that courts may now “independently determine what constitutes other ‘extraordinary and

compelling reasons’ for compassionate release[.]” United States v. Richardson, Crim. No. JKB-

09-0288, 2020 WL 3267989, at *2 (D. Md. June 17, 2020). This Court likewise has held that




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“medical conditions which make a defendant uniquely susceptible to complications from COVID-

19 create ‘extraordinary and compelling reasons’ to grant compassionate release pursuant to §

3582(c)(1)(A).” Id. See also, United States v. Lewin, Crim. No. SAG-15-198, 2020 WL 3469516,

at *3 (D. Md. June 25, 2020) (A defendant can establish his entitlement to compassionate release

by demonstrating that he “(1) has a condition that compellingly elevates his risk of becoming

seriously ill, or dying, from COVID-19, and (2) is more likely to contract COVID-19 in his

particular institution than if released.”).

         The totality of the circumstances do not establish extraordinary and compelling reasons for

compassionate release. Malik has identified medical conditions which, in spite of his relatively

young age, increase his risk of severe illness should he contract COVID-19.1 Malik has been

treated for hypertension, hypercholesteremia, coronary artery disease, cardiac angina, diabetes,

and benign prostatic hypertrophy. (See ECF No. 505-1 at 8.) He also has had at least one heart

attack and serious blockages in his coronary artery. (See ECF No. 512-1 at 4.) The CDC has

confirmed diabetes and certain heart conditions are associated with a heightened risk of severe

illness from COVID-19 and has found that certain of Mr. Malik’s other conditions, such as

hypertension, might enhance an individual’s risk of severe illness as well. See Coronavirus

Disease 2019 (COVID-19): People Who Are at Increased Risk for Severe Illness, CTRS. FOR

DISEASE                CONTROL,                  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-at-higher-risk.html (last accessed July 15, 2020). These medical conditions

weigh in favor of a finding of extraordinary and compelling reasons for release.

         However, weighing against a finding of extraordinary and compelling reasons for release

is the fact that there are currently no confirmed active cases of COVID-19 among inmates or staff


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 The Court notes that Malik challenges the Government’s position regarding the existence and severity of his health
conditions. For the purposes of this Order only, the Court accepts Malik’s assertions regarding his health conditions.


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at      FCI    Loretto.         See     COVID-19        Cases,       BUREAU       OF      PRISONS,

https://www.bop.gov/coronavirus/ (last accessed July 15, 2020). Also weighing against release is

the fact that Malik has served only roughly 28 months of a 96-month sentence for serious crimes.

(See ECF No. 505 at 15.) Collectively, these two factors outweigh Malik’s medical condition, and

lead the Court to find that extraordinary and compelling reasons for release do not exist at this

time.

         The Court acknowledges the very real danger posed by the COVID-19 pandemic and

Malik’s legitimate concerns about his heightened risk. However, the Court finds that both the

current situation at FCI Loretto and the fact that Malik has served only a small portion of his eight-

year sentence weigh against judicial relief. In light of these latter two considerations, Malik’s

Motion for Compassionate Release (ECF No. 505) is DENIED. However, this denial is without

prejudice to Malik’s ability to make an updated request should conditions substantially change at

FCI Loretto or a serious outbreak occur. Additionally, the Court urges Malik to continue to pursue

his administrative remedies with BOP.

         Malik’s Motion to Strike (ECF No. 513) is also DENIED. The Court recognizes that the

Government filed its response in opposition one day late and that this submission exceeded the

page limits set under Local Rule 105.3. However, the Court in its discretion declines to strike the

response in opposition for these relatively minor rule violations.




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DATED this 15th day of July, 2020.



                                     BY THE COURT:


                                                       /s/

                                     James K. Bredar
                                     Chief Judge




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